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discharges the OSC, but imposes the following sanction as a violation of the
Court’s July 15, 2021 Order: The Court admonishes counsel for both parties and
their respective clients to comply with all rules and court orders in the future. In
the event that this Court issues an OSC in any future case involving counsel in this
case or their clients, counsel are ordered to disclose this sanction.

     The Court hereby grants the parties’ stipulation to dismiss this case with
prejudice.

         IT IS SO ORDERED.




CV-90 (12/02)                  CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VRV

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